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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



LAWRENCE LESSER,

                       Plaintiff,

        v.

XURA, INC., HENRY R. NOTHHAFT, SUSAN                   Civil Action No.: 1:16-CV-11445
D. BOWICK, JAMES BUDGE, NICCOLO DE
MASI, MATTHEW A. DRAPKIN, DORON
INBAR, PHILIPPE TARTA VULL, MARK C.
TERRELL, SIRIS CAPITAL GROUP, LLC,
SIERRA PRIVATE HOLDINGS II LTD., and
SIERRA PRIVATE MERGER SUB INC.,

                       Defendants.



                           REPORT OF THE PARTIES AND
                   WITHDRAWAL OF PRELIMINARY INJUNCTION MOTION

        Pursuant to paragraph 1 of the Court’s Order dated July 18, 2016, the parties report that

they have reached an agreement in principle to resolve plaintiff’s motion for preliminary

injunction, and this entire case, on the basis of supplemental disclosures. The parties are

proceeding to negotiate a memorandum of understanding (“MOU”). In the unlikely event that

they do not reach agreement on the terms of an MOU, defendant Xura, Inc. will still make

supplemental disclosures addressing all matters raised by the preliminary injunction motion. The

parties agree that the preliminary injunction motion is therefore moot, and plaintiff withdraws the

motion.




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Respectfully submitted,



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                                                    Sierra Private Holdings II Ltd., and Sierra
                                                    Private Merger Sub Inc.

Dated: July 22, 2016




                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(“NEF”) and paper copies will be sent to those indicated as non-registered participants on July
22, 2016.

                                             /s/ Bruce E. Falby
                                             Bruce E. Falby


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